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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                       Case No.: 1:11-cv-23983-MGC


   NELSON MEZERHANE,

                          Plaintiff,

                  v.

   REPÚBLICA BOLIVARIANA DE VENEZUELA,
   a sovereign nation, SUPERINTENDENCIA DE
   LAS        INSTITUCIONES            DEL       SECTOR
   BANCARIO, an agency or instrumentality of the
   Bolivarian Republic of Venezuela, FONDO DE
   PROTECCIÓN SOCIAL DE LOS DEPÓSITOS
   BANCARIOS, an agency of instrumentality of the
   Bolivarian Republic of Venezuela, JESSE CHACÓN
   ESCAMILLO, individually and as former Minister
   of Interior and Justice of the Bolivarian Republic of
   Venezuela, JULIÁN ISAÍAS RODRÍGUEZ DÍAZ,
   individually and as former Attorney General of the
   Bolivarian Republic of Venezuela, GÚMER
   QUINTANA, individually and as former Judge of
   the 19th Judicial District for the Metropolitan Area of
   Caracas, FLORENCIO E. SILANO GONZÁLEZ,
   individually and as former Judge of the 6th Judicial
   District of Special Jurisdiction over Security and
   Terrorism of the Metropolitan Area of Caracas,
   GILBERTO LANDAETA, individually and as
   former Prosecutor of the 8th National District of the
   Bolivarian Republic of Venezuela, YORACO
   BAUZA, individually and as former prosecutor of
   the 30th National District of the Bolivarian Republic
   of Venezuela, and EDGAR HERNÁNDEZ
   BEHRENS, individually and as Superintendent of
   the Superintendencia de las Instituciones del Sector
   Bancario.

                          Defendants.

          DEFENDANT SUDEBAN’S MEMORANDUM OF LAW IN OPPOSITION TO
              PLAINTIFF’S MOTION FOR JURISDICTIONAL DEPOSITIONS



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               Defendant Superintendencia de Las Instituciones del Sector Bancario (“SUDEBAN”)

   opposes Plaintiff Nelson J. Mezerhane’s “Motion For Jurisdictional Depositions Of Declarants

   Edgar Hernández Behrens And Héctor Villalobos” (the “Motion,” D.E. #63). The Court should

   deny the Motion because the discovery sought by Plaintiff would not establish facts sufficient to

   provide this Court with jurisdiction over any Defendant. Defendants, in their motions to dismiss,

   have raised a threshold dispositive legal issue that would not be addressed by the requested

   discovery, and that, if resolved in Defendants’ favor, will require dismissal of this case.

   Moreover, Plaintiff has failed to describe with the requisite particularity the purposes of the

   depositions he seeks. Allowing jurisdictional discovery under these circumstances would violate

   Defendants’ sovereign immunity. The Court should not subject SUDEBAN to a discovery

   campaign by a foreign national who seeks in vain to manufacture a jurisdictional basis to

   maintain litigation against his government in a United States court. This is especially true given

   that this dispute has no connection to the United States. The motion for jurisdictional

   depositions should, therefore, be denied in its entirety.

                                                  BACKGROUND

               Republic of Venezuela, FOGADE and SUDEBAN are each a “foreign state” as defined

   by the Foreign Sovereign Immunities Act (“FSIA”). 28 U.S.C. §1603(a), (b). Each foreign state

   defendant has moved to dismiss the claims against it for, inter alia, lack of subject matter

   jurisdiction pursuant to the immunity provided to foreign states under the FSIA.1

               In opposing Defendants’ motions to dismiss, Plaintiff argues that none of the foreign state

   defendants is immune from jurisdiction in this Court because the expropriation exception of 28



   1
    The complete list of the grounds for dismissal asserted by Defendants, and the support for each ground, can be
   found in the motions to dismiss filed by each Defendant (D.E. ## 42, 46, 51).




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   U.S.C. §1605(a)(3) applies to Plaintiff’s claims. According to his motion for jurisdictional

   depositions, “[P]laintiff has alleged that his property was taken in violation of international law,

   and that FOGADE and SUDEBAN, each agencies and instrumentalities of Venezuela, own or

   operate the properties taken, or property received in exchange for that property, and are engaged

   in commercial activities in the United States.” Pl.’s Mot. J. Deps. at 2. Plaintiff now asks this

   Court to permit him to take jurisdictional depositions of Edgar Hernández Behrens and Héctor

   Villalobos, “who are employees of their respective defendant-agencies, [and] have provided

   testimony with respect to the critical ‘own and operate’ and ‘commercial activity’ elements of

   Section 1605(a)(3).” Id. at 2-3 (emphasis added). In support of his request for jurisdictional

   depositions, Plaintiff asserts “absent the declarations provided by Hernández Behrens and

   Villalobos, defendants’ factual assertions with respect to these elements would lack any support.

   Plaintiff’s ability to test and cross-examine these witnesses with respect to their assertions, which

   are the entire basis of defendants’ factual contentions, is fundamental to a fair opportunity to

   meet defendants’ factual claims.” Id. at 3 (emphasis added). Notably, Plaintiff does not contend

   that the jurisdictional depositions he seeks would have any bearing on the threshold legal issue

   under the expropriation exception, namely whether Plaintiff – a Venezuelan national suing

   Venezuela and Venezuelan governmental entities for expropriating property in Venezuela – has

   alleged a violation of international law.

                                               ARGUMENT

               I.     Jurisdictional Discovery Should Not Be Permitted Where It Is Unlikely To
                      Establish Facts That Will Alter The Jurisdictional Analysis

               Immunity afforded to foreign states is not simply the immunity from judgment and

   liability, but immunity from litigation, including discovery. See, e.g., Butler v. Sukhoi, 579 F.3d

   1307, 1314 (11th Cir. 2009); Licea v. Curacao Drydock Co., Case No. 06-22128-CIV-KING,



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   2012 U.S. Dist. LEXIS 87376, at *20 (S.D. Fla. Jun. 25, 2012) (“Licea II”) (“Generally,

   sovereign immunity shields defendants not only from judgment, but from the litigation process,

   including discovery”) (citing Rubin v. The Islamic Republic of Iran, 637 F.3d 783, 785 (7th Cir.

   2011)).

               Jurisdictional discovery is permitted only where the complaint establishes a prima facie

   case that the District Court has jurisdiction. Butler, 579 F.3d at 1314; see also Furry v.

   Miccosukee Tribe of Indians of Florida, Case No. 10-24524-CIV-Seitz/O’Sullivan, 2011 U.S.

   Dist. LEXIS 39779, at *6 (S.D. Fla. Mar. 31, 2011) (“If the complaint is insufficient as a matter

   of law to establish a prima facie case that the Court has jurisdiction, it is an abuse of discretion

   for the Court to allow the case to proceed and permit discovery on the jurisdictional issue”).

   Moreover, if jurisdictional discovery is to be provided, it must be “ordered circumspectly and

   only to verify allegations of specific facts crucial to an immunity determination.” Butler, 579

   F.3d at 1314 (quoting First City, Texas-Houston, N.A. v. Rafidain Bank, 150 F. 3d 172, 176 (2d

   Cir. 1998).

               The Eleventh Circuit explained in Butler v. Sukhoi that a careful analysis of the request

   for discovery is required “to balance the need for ‘discovery to substantiate exceptions to

   statutory foreign sovereign immunity’ against the need to ‘protect[] a sovereign’s or sovereign

   agency’s legitimate claim to immunity from discovery.’” Id. (alteration in original). In Butler,

   plaintiffs sought discovery against agencies and instrumentalities of Russia to determine whether

   they were alter egos of an entity against whom plaintiffs had an unsatisfied judgment. Plaintiffs’

   complaint failed to allege facts that would bring their claim within any FSIA exception. The

   District Court denied defendants’ motion to dismiss as premature given that plaintiffs had not

   had the chance to conduct jurisdictional discovery. The Eleventh Circuit reversed and remanded




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   the case with instructions to dismiss it, holding “[b]ecause the complaint’s alter-ego allegations,

   if proven through additional discovery, would not demonstrate a basis for jurisdiction in any

   event, we have little difficulty concluding that the need to protect appellants’ claim to immunity

   from discovery greatly outweighed any competing need for further discovery.” Id. at 1314-15.

               Jurisdictional discovery is permissible only to the extent that it will elicit facts that would

   establish jurisdiction. In Licea v. Curacao Drydock Co., the sole case cited by Plaintiff in

   support of his motion, the plaintiff sought to add additional defendants, including foreign states,

   as judgment debtors in an underlying action. The Court initially refused to grant the plaintiff any

   discovery, finding that the motion to add the additional defendants was wholly silent as to the

   existence of any exception to the FSIA (and the existence of the FSIA itself). Licea v. Curacao

   Drydock Co., 794 F. Supp. 2d 1299, 1305 (S.D. Fla. 2011) (“Licea I”). The plaintiff

   subsequently amended his motion to allege facts that implicated the FSIA’s commercial

   activities exception, 28 U.S.C. §1605(a)(2). Licea II, 2012 U.S. Dist. LEXIS 87376, at *11-*12.

   The Court then permitted the plaintiff to take very narrow discovery “‘limited to the essentials

   necessary to determine the assets used by the Governments to fund, operate, or otherwise

   facilitate the [original judgment debtor’s] commercial enterprise.’” Id. at *18-*19.

               II.    The Depositions Sought By Plaintiff Are Unrelated To The Dispositive Issue
                      Of Whether There Has Been A Taking In Violation Of International Law

               Plaintiff has not established a prima facie case that this Court has jurisdiction because his

   complaint fails to allege a taking in violation of international law as required by the

   expropriation exception. 28 U.S.C. §1605(a)(3). The expropriation exception initially requires a

   showing that the property in question was taken in violation of international law. Defendants, in

   their motions to dismiss, contend that Plaintiff has not alleged a taking in violation of

   international law because Plaintiff was, at all relevant times, a citizen of Venezuela. Numerous



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   precedents, including from the Eleventh Circuit, establish that “when a foreign nation confiscates

   the property of its own nationals, it does not implicate principles of international law.” Beg v.

   Islamic Republic of Pakistan, 353 F.3d 1323, 1328 n.3 (11th Cir. 2003) (quoting FOGADE v.

   ENB Revocable Trust, 263 F.3d 1274, 1294 (11th Cir. 2001)) (emphasis added); see also Dreyfus

   v. Von Finck, 534 F.2d 24, 31 (2d Cir. 1976); Jafari v. Islamic Republic of Iran, 539 F. Supp.

   209, 215 (N.D. Ill. 1982); Wahba v. National Bank of Egypt, 457 F. Supp. 2d 721, 731 (E.D.

   Tex. 2006); Rong v. Liaoning Provincial Gov’t, 362 F. Supp. 2d 83, 102 (D.D.C. 2005) (quoting

   Chuidian v. Philippine Nat'l Bank, 912 F.2d 1095, 1105 (9th Cir. 1990)).

               Plaintiff’s failure to plead facts establishing a taking in violation of international law

   cannot be rescued by his requested jurisdictional depositions. The depositions that Plaintiff

   seeks do not concern the international law issue, but instead other elements of §1605(a)(3). See

   Pl.’s Mot. at 2-3 (“Hernandez Behrens and Villalobos . . . have provided testimony with respect

   to the critical “own and operate” and “commercial activity” elements of Section 1605(a)(3).”)

   These separate issues that Plaintiff wishes to explore in jurisdictional depositions are, at best,

   premature. If the Court agrees with Defendants as to Plaintiff’s Venezuelan citizenship and its

   fatal effect on his expropriation claim, then no exception to the FSIA is applicable to this case

   and the motions to dismiss must be granted, making jurisdictional discovery unnecessary and

   improper.

               Plaintiff faces the same insurmountable hurdle as the plaintiff in Butler. Indulging for the

   moment in the dubious assumption that Plaintiff could discover evidence to support his

   allegations that SUDEBAN and FOGADE own and operate property that belonged to him and

   engage in commercial activity in the United States, there would still be no basis for jurisdiction

   over the foreign state defendants, just as the existence of facts to prove an alter-ego theory could




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   not create jurisdiction over the foreign state defendants in Butler. Here, as in Butler, “the need to

   protect [Defendants’] claim to immunity from discovery greatly outweigh[s] any competing need

   for further discovery.” Butler, 579 F.3d at 1315.

               Defendants’ immunity from the litigation process requires the Court to balance the

   alleged need for discovery against Defendants’ legitimate claim to immunity from discovery. Id.

   at 1314. In the instant action, that balance can be achieved only by denying Plaintiff’s request

   for discovery unless and until the Court determines that Plaintiff has sufficiently alleged a taking

   in violation of international law. Because Plaintiff has not done so – and cannot do so for the

   reasons set forth in Defendants’ motions to dismiss – his motion for jurisdictional depositions

   should be denied.

               III.   Plaintiff’s Motion For Jurisdictional Depositions Should Be Denied Because
                      The Proposed Depositions Are Not Narrowly Tailored To Specific
                      Jurisdictional Facts

               Even apart from the dispositive issue of Plaintiff’s citizenship and its preclusive effect on

   the expropriation exception, Plaintiff’s request for jurisdictional depositions should be denied

   because Plaintiff has failed to identify how the discovery he seeks would enable him to “verify

   allegations of specific facts crucial to an immunity determination.” Butler, 579 F.3d at 1314

   (quoting First City, Texas-Houston, N.A. v. Rafidain Bank, 150 F.3d 172, 176 (2d Cir. 1998)).

   Plaintiff’s motion seeking discovery says only that “Plaintiff’s ability to test and cross-examine

   these witnesses [Messers. Hernández Behrens and Villalobos] with respect to their assertions,

   which are the entire basis of defendants’ factual contentions, is fundamental to a fair opportunity

   to meet defendants’ factual claims.” Pl.’s Mot. J. Deps. at 3. That is not a sufficient basis for

   obtaining jurisdictional discovery in an FSIA case.

               As demonstrated in SUDEBAN’s motion to dismiss and supporting papers, it is simply

   not true as a matter of law or fact that SUDEBAN owns or operates any property that formerly

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   belonged to Plaintiff. Nor does SUDEBAN engage in any commercial activity in the United

   States. In attempting to counter these points, all Plaintiff has mustered are conclusory allegations

   and declarations of individuals who lack personal knowledge of the relevant facts.2 This is not a

   sufficient basis upon which to burden the foreign state Defendants with unfocused jurisdictional

   discovery.

               The only authority cited by Plaintiff involves a situation where the plaintiff required

   discovery to prove jurisdictional allegations concerning the existence of assets in the United

   States. See Licea II, 2012 U.S. Dist. LEXIS 87376, at *20-*21. In Licea II, however, the

   discovery was permitted only when it was narrowly tailored to produce evidence that would

   verify a jurisdictional allegation. There, the critical jurisdictional allegation was that the

   defendant held property in the United States that was being used for commercial purposes; the

   Court allowed the plaintiff to engage in discovery “limited to the essentials necessary” to identify

   that property. Id. at *19. Here, Plaintiff’s requested jurisdictional discovery is not so tailored; he

   says that he wants to “cross-examine” Messrs. Hernández Behrens and Villalobos, but provides

   no specifics regarding an exercise that could potentially be boundless. Given the amount of

   extraneous material contained in Plaintiff’s voluminous complaint, memoranda, and multiple

   declarations, including the ample political content in those papers, there is reason to suspect that

   any unlimited “cross-examination” of SUDEBAN and FOGADE personnel would be an exercise

   in harassment. Accordingly, the Court should decline to intrude on the immunity of Defendants,

   and not force them to participate in the unnecessary, open-ended discovery Plaintiff has

   requested.


   2
    SUDEBAN incorporates by reference the arguments made in its Motion To Strike Portions Of The Declaration Of
   Gilda E. Pabon G. And The Purported “Expert Legal Opinion” Of Allan R. Brewer-Carias, filed contemporaneously
   with this memorandum.



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                                                  CONCLUSION

               For the reasons set forth above and in SUDEBAN’s and the other Defendants’

   memoranda in support of their Motions to Dismiss, this Court should deny Plaintiff’s Motion For

   Jurisdictional Depositions.3

                                                            Respectfully Submitted,
                                                            SILVERIO & HALL
                                                            150 West Flagler Street
                                                            Miami, FL 33130
                                                            Telephone: (305) 371-2756
                                                            Facsimile: (305) 372-2744
                                                            /s/ Brian Silverio________________________
                                                            Brian Silverio
                                                            Florida Bar No. 0183301
                                                            Silverio & Hall, P.A.
                                                            150 West Flagler St.
                                                            Penthouse – 2850
                                                            Miami, FL 33130
                                                            Tel.: (305) 371-2756
                                                            Fax: (305) 372-2744
                                                            Email: bsilverio@silveriohall.com
                                                            - And -
                                                            FOLEY HOAG LLP
                                                            Seaport West
                                                            155 Seaport Boulevard
                                                            Boston, Massachusetts 02210
                                                            Telephone: (617) 832-1000
                                                            Facsimile: (617) 832-7000
                                                            Andrew Z. Schwartz (Admitted Pro Hac Vice)
                                                            Email: aschwartz@foleyhoag.com
                                                            Richard Baldwin (Admitted Pro Hac Vice)
                                                            Email: rbaldwin@foleyhoag.com
                                                            Counsel for Defendant Superintendencia de las
                                                            Instituciones del Sector Bancario

   Dated: December 21, 2012

   3
    SUDEBAN incorporates by reference the arguments of its co-defendant FOGADE in its Response To Plaintiff’s
   Motion For Jurisdictional Deposition Of Declarant Hector Villalobos (D.E. #76) to the extent those arguments are
   applicable to SUDEBAN.



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                                     CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that, on this 21st day of December 2012, we electronically filed
    the foregoing document with the Clerk of the Court using CM/ECF. We also certify that the
    foregoing document is being served this day on all counsel of record identified on the attached
    Service List either via transmission of Notice of Electronic Filing generated by CD/ECF or in
    some other authorized manner, as specified, to those counsel or parties who are not authorized to
    receive electronically Notices of Electronic Filing.

                                                        /s/ Brian Silverio____________________
                                                        Brian Silverio




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                                         SERVICE LIST

                     Mezerhane v. República Bolivariana de Venezuela et al.
                                  Case No.: 1:11-cv-23983-MGC
                     United States District Court, Southern District of Florida

    Counsel for Plaintiff Nelson J. Mezerhane        Counsel for Republica Bolivariana de
                                                     Venezuela

    Clement Ryan Reetz                               Jose Pertierra
    DLA Piper LLP (US)                               The Law Office of Jose Pertierra
    200 S. Biscayne Boulevard                        1010 Vermont Avenue, N.W., Suite 514
    Suite 2300                                       Washington, DC 20005
    Miami, FL 33131                                  Phone: (202) 783-6666
    Phone: (305) 423-8525                            Email: josepertierra@gmail.com
    Fax: (305) 468-6432
    Email: ryan.reetz@post.harvard.edu               Neil H. Koslowe
                                                     Shearman & Sterling
    Pedro Julio Martinez-Fraga                       801 Pennsylvania Avenue, NW, Suite 900
    DLA Piper LLP (US)                               Washington, DC 20004-2604
    200 S. Biscayne Boulevard                        Phone: (202) 508-8000
    Suite 2300                                       Fax: (202) 508-8100
    Miami, FL 33131                                  Email: neil.koslowe@shearman.com
    Phone: (305) 423-8520
    Fax: (305) 437-8131                              Thomas B. Wilner
    Email: pedro.martinezfraga@dlapiper.com          Shearman & Sterling, LLP
                                                     801 Pennsylvania Avenue, NW
    Edward Colin Thompson                            Washington, DC 20004
    DLA Piper LLP (US)                               Phone: (202) 508-8050
    100 North Tampa Street                           Email: twilner@shearman.com
    Suite 2200
    Tampa, FL 33602                                  Steven Murray Weinger
    Phone: (813) 229-2111                            Kurzban Kurzban Weinger & Tetzeli
    Fax: (813) 229-1447                              2650 SW 27th Avenue, 2nd Floor
    Email: colin.thompson@dlapiper.com               Miami, FL 33133
                                                     Phone: (305) 444-0060
    Harout Jack Samra                                Fax (305) 444-3503
    DLA Piper LLP (US)                               Email: swmiami@aol.com
    200 S Biscayne Blvd
    Suite 2300                                       Helena Marie Tetzeli
    Miami, FL 33131                                  Kurzban Kurzban Weinger & Tetzeli
    Phone: (305) 423-8534                            2650 SW 27th Avenue, 2nd Floor
    Fax: (305) 437-8131                              Miami, FL 33133
    Email: harout.samra@dlapiper.com                 Phone: (305) 444-0060
                                                     Email: helena@kkwtlaw.com




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    Counsel for Fondo de Proteccion Social de
    los Depositos Bancarios

    Brant Collin Hadaway
    Diaz Reus & Targ, P.A.
    100 S.E. 2nd Street
    Miami Tower 2600
    Miami, FL 33131
    Phone: (305) 375-9220
    Fax: (305) 375-8050
    Email: bhadaway@diazreus.com

    Carlos Fernando Gonzalez
    Diaz Reus & Targ LLP
    100 SE 2nd Street
    Suite 2600
    Miami, FL 33131
    Phone: (305) 375-9220
    Fax: (305) 375-8050
    Email: cgonzalez@diazreus.com




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